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JS-6
UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
WESTERN DIVISION
CYLYNT GROUP DAC,
Case No.: 2:20-CV-07237-MWF-(PJWx)
Plaintiff,
VS. ORDER GRANTING STIPULATION
OF DISMISSAL
MICHELE DE STEFANO, an
individual domiciled in California,
Defendant.

 

 

Having considered the Stipulation of Dismissal filed by the parties to this action
pursuant to Federal Rule of Civil Procedure 41 (a)(1)(A)(ii), and finding good cause,
this Court hereby GRANTS the request. This action is hereby dismissed with
prejudice.

IT IS SO ORDERED.

DATED: November 16, 2021 0. Code)

MICHAEL W. FITZGERALD
United States District Judge

 
